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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,           )
                                    )
            v.                      )
                                    )
PAUL J. MANAFORT, JR.,              )  Case No. 1:17-cr-00201-1-ABJ
                                    )
                  Defendant.        )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)

           UNITED STATES’ DECLARATION OF NOTICE AND PUBLICATION

         The United States of America, by and through its undersigned attorneys, respectfully files

this Declaration of Notice and Publication 1 to inform the Court of notice provided to persons

who may have an interest in this criminal forfeiture action and of notice made by publication. In

accordance with the October 10, 2018, Consent Order of Forfeiture, 21 U.S.C. § 853(n)(1), and

Federal Rule of Criminal Procedure 32.2(b)(6), the United States published notice of the

October 10, 2018 Consent Order of Forfeiture, and, to the extent practicable, provided direct

written notice to any persons known to have an alleged interest in the Forfeited Assets

enumerated therein. As set forth in the Affidavit of Elvira Amantaeva and its attachments

(Exhibit A), the United States published notice on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days beginning on October 13, 2018 and

ending on November 11, 2018. The Amantaeva Affidavit also identifies the persons and entities



1
 This Declaration is being filed in both the main action, United States v. Paul J. Manafort, Jr., Case No. 1:17-cr-
00201-1-ABJ, and under the miscellaneous case number opened by the court for ancillary proceedings, In Re:
Petitions for Relief Concerning Consent Order of Forfeiture, Case No. 1:18-mc-00167-ABJ.

                                                          1
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to which the United States provided direct written notice and explains that the notice included a

complete list of all the properties being forfeited, provided detailed instructions advising

potential claimants of the procedures required under 21 U.S.C. § 853(n) to file petitions, and

advised that petitions must be filed within thirty (30) days of the receipt of the notice or thirty

(30) days of the last publication of the notice, whichever is earlier. A copy of the October 10,

2018 Consent Order of Forfeiture was also provided along with the direct notice. Id.


                               Respectfully Submitted,

                                      ROBERT S. MUELLER, III
                                      Special Counsel

                                      By: /s/ Andrew Weissmann
                                      Andrew Weissmann
                                      Jeannie S. Rhee (D.D.C. Bar No. 464127)
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                                      By: /s/ Daniel H. Claman
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